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                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 20-16-BLG-SPW-l
 COURAGE DANE DECRANE                                                      USM Number: 17994-046
                                                                           Steven C. Babcock
                                                                           Defendant's Attorney



THE DEFENDANT:
       pleaded guilty to count(s)                        1 of the Superseding Information
       pleaded nolo contendere to count(s) which
 □
       was accepted by the court
       was found guilty on count(s) after a plea of
 □
       not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 18:113F.F Assault Resulting In Serious Bodily Injury and : 8:1153(A) Crime On                    05/19/2019      1 ss
 A Reservation.




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Refonn Act of 1984.

 □     The defendant has been found not guilty on count(s)
 (El   The Superseding Indictment is dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
 material changes in economic circumstances.


                                                             October 21.2021
                                                             Date of imposition of Judgment




                                                             signature of Judge

                                                             Susan P. Walters
                                                             United States District Judge
                                                             Name and Title of Judge

                                                             October 21, 2021
                                                             Date
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